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                         UNITED STATES DISTRICT COURT
                                                      for the
                                           Southern District of Illinois

,,-lJomze/l             lelA/Is            ;;r                  Case Number:          I)~ cv' 514 -c? PrY)
                                                                                      (Clerk's Office will provide)

                 Plaintiif/petitioner(s)
                            v.
                                                                ~VIL RIGHTS COMPLAINT
                                                                pursuant to 42 U.s.c. §1983 (State Prisoner)
                                                                o    CIVIL RIGHTS COMPLAINT
                                                                pursuant to 28 U.S.c. §1331 (Federal Prisoner)
                                                                o CIVIL COMPLAINT
                                                                pursuant to the Federal Tort Claims Act,
                                                                28 US.c. §§1346, 2671-2680, or other law




 I.       JURISDICTION

          Plaintiff:

          A.      Plaintiff's mailing address, register number, and present place of
                  confinement.
                                     ,:J{)J15     Cole i3r;/kJ/l!e                        /lrle,
                                   5T J.-ou/~> Nt! 63//3
          Defendant #1:

         B.              clik (!ieml)/JS
                  Defendant                                                                        is employed as
                                            (a)   .   (Name of First Defenda~        '.

                 C/ @IJll &olJc:: &/!&c7c/                                     12/;(!C
                                            (b)             (Position/Title)

                 w i t h " ' : ; - /1!t"7




                  At the time the claim(s) alleged this complaint arose, was J.fefendant #1
                  employed by·the state, local, or federal government? B"Yes         0 No

                  If your answer is YES, briefly explain:               IlI#e hme I/;e c/Cllm5
                 c7//etJed;n !/;/-? ,.CCllljJllil7..'t cl~v:5eJ (}//lcer CI01?IJ/lS
                 7}c///rvc7d ~)ce.
                                                        m
                 waf em;:ll'£e~ (JIJ Cla. #j<-d5 c7 (//7/0/7 f.2:-?O//6
                                                        J
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        Defendant #2:

        c.      Defendant .    SjI 4cIf                                     is employed as



                !jold/)
                                      (Name of Second Defendant)


                             2l/1,{~ &J?wd
                                      (Position/Title)
                                                       /J)ee .        r
                with      i/;:) ~ .   C   •   ';;707/h'£ c7C/' ;I                          , /
                                      (Employer's Name and Address)

                dtaz&Z/ !IIE.. ;;p 7 9'
                At the time the claim(s) alleged in this complaint arose, wa¢efendant #2
                employed by the state, local, or federal government?      arYes  0 No

                If you   ~swer is YES, br~efl! explain:     Il( //;e f/Jle~e C/<i/ff.;-.5
                c71/e/lGd 117 11516 C'(:)/IJjYY//J/' c.ll~:"ej ~91 Ii/)). Wd5              j

                (JIl VUJclS j !!hlc!/? .&Ot'c Mll/Oc7c/ fMcc.




        Additional Defendant(s) (if any):

        D.      Using the outline set forth above, identify any additional Defendant(s).




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II.     PREVIOUS LAWSUITS

        A.       Have you begun any other lawsuits in state or federal court r-4ting to
                 your imprisonment?                              0 Yes    ~:L
        B.       If your answer to " A" is YES, describe each lawsuit in the space below. If
                 there is more than one lawsuit, you must describe the additional lawsuits
                 on another sheet of paper using the same outline. Failure to comply with
                 this provision may result in summary denial of your complaint.


                 1.     Parties to previous lawsuits:
                        Plaintiff(s):



                        Defendant( s):



                 2.     Court (if federal court, name of the district; if state court, name of
                        the county):

                 3.     Docket number:

                 4.     Name of Judge to whom case was assigned:

                 5.     Type of case (for example: Was it a habeas corpus or civil rights
                        action?):


                 6.     Disposition of case (for example: Was the case dismissed? Was it
                        appealed? Is it still pending?):



                  7.    Approximate date of filing lawsuit:

                  8.    Approximate date of disposition:




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III.    GRIEVANCE PROCEDURE

        A.       Is there a prisoner grievance procedure in the institution? 0 Yes   ONo

        B.       Did you present the facts relating to your complaint in the prisoner
                 grievance procedure?                                       0 Yes     0 No

        C.       If your answer is YES,
                 1.     What steps did you take?




                 2.     What was the result?




         D.      If your answer is NO, explain why not.




         E.      If there is no prisoner grievance procedure in the institution, did you
                 complain to prison authorities?                             0 Yes     0 No

         F.      If your answer is YES,
                 1.     What steps did you take?



                 2.     What was the result?




         G.      If your answer is NO, explain why not.


         H.      Attach copies of your request for an administrative remedy and any
                 response you received. If you cannot do so, explain why not:




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IV.      STATEMENT OF CLAIM

         A.      State here, as briefly as possible, when, where, how, and by whom you feel
                 your constitutional rights were violated. Do not include legal arguments of
                 citations. If you wish to present legal arguments or citations, file a separate
                 memorandum of law. If you intend to allege a number of related claims,
                 number and set forth each claim in a separate paragraph. If your claims
                 relate to prison disciplinary proceedings, attach copies of the disciplinary
                 charges and any disciplinary hearing summary as exhibits. You should also
                 attach any relevant, supporting documentation.



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On, or about, the night of Feb. 8 2010 at, or approximately 8 :OOp.m., Officer John Clemons of the
Union Pacific Railroad Police passed me traveling in the opposite direction, approximately 30 yards from
the Union Pacific railroad tracks located on 4th and Trendley Ave. Recongnizing my vehicle, because one
week prior he pulled me over and harassed me regarding stolen televisions, an incedent that I
immediately reported to his supervisor Capt. Brown and my parole officerRichard Wactor, he
immediately made a u- turn and signaled for me to stop. I immediately pulled over directly under the
                          th
Tudor exit located on 8 and Trendley Ave. , approximately 80 yards from Union Pacific's railroad tracks.
Officer Clemons exited his vehicle with his weapon aimed in my direction and ordered me to turn off
my vehicle, to drop my keys out the window, to exit my vehicle with my hands in the air and my back to
him, and to lie on the ground with my arms away from my body. Officer Clemons warned me that he
was looking for a reason to "put a bullet in my ass," and that if I made one wrong move that he would
"shoot to kill." After meticulously obeying his commands, the officer approached and stood over me
with his weapon aimed at my head and insisted that I must have been in the area burglarizing a train
that had recently passed through. After repeatedly proclaiming my innocence, Officer Clemons
threatened that if I did not tell him where those televisions were that were stolen 2 weeks prior that he
was going to "lock my ass up." He handcuffed my hands behind my back and searched me as i lie on the
ground, and shouted, "and I am about to have this ragged motherfucker towed ," in reference to my
vehicle. Before the tow truck arrived, OfficerClemons went through my tools and seized a pair of
motarola 2 way radios and a pair of bolt cutters, referring to them as burglary tools, that he has yet to
return. As I lie on the ground handcuffed, I repeatedly demanded that I had done nothing wrong, that I
had license and insurance and that he did not have probable cause to stop me, arrest me , or tow my
vehicle. I told the officer that I had not even seen a train in the area and that I knew nothing about any
stolen televisions, I insisted that I had just arrived home from work, leaving my home only to pick up
my wife's call in order of fried rice. I literally begged the officer to verify my story with the restaurant's
owner, my wife, or by checking the temperature of the bag of rice that sat on my front seat. Officer
Clemons said,"1 don't eat the shit," and laughed at me. Once the tow truck departed, Officer Clemons
secured me in his vehicle and escorted me to the St. Clair County Jail, instructing the Booking Officer to
book me in for a burglary. After more than 24 hours of this warrantless arrest, Officer Clemons and SGT.
Rick interrogated me demanding that since I was on federal probation, and already in their custody that
I "HELP MYSELF" by confessing to burglarizing a train and stealing televisions 2 weeks prior. SGT. Rick
also informed me that my mother-in -law, wife, supervisor, and family lawyer had contacted his
superiors complaining about my detention, and had in the process consented to a search of our home
which came up clean. After about 45 minutes,l was returned to the holding cell. The St, Clair County Jail
Booking Officer that escorted me to the holding cell stated that, Officer Clemons has been on the war
path, " and that I was about the 5th person that he had brought in that month alone under a 48 hour
investigation. Hours later, Officer Clemons appeared at the holding cell door demanding that I sign a
Union Pacific citation for trespassing, a charge that was subsequently stricken off call with leave to
reinstate, as a condition of him releasing me. Not aware at the time that my 4th and 5th amendment
rights had been violated, I signed and was released about 20 minutes later without even being required
to post bond. This trespassing charge was fabricated by Officer Clemons after discovering that a burglary
had not even taken place the night that I was illegally arrested. This charge was a desperate attempt to
satisfy probable cause for a sham arrest and the towing of my vehicle. During this unlawful detention, I
was deprived of my liberty for 48 hours without a probable cause determination hearing before a
judicial officer after being arrested without a warrant, nor was I ever given the opportunity to post
bond. Officer Clemons' supervisors were well aware that this illegal detention was taking place and not
only failed to prevent a constitutional violation, but infact, took an active part in it by directing,
consenting to, and authorizing an interrogation and the searching of my home regarding unrelated
crimes, further delaying my probable cause determination hearing, or my release. Union Pacific Railroad
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Police Officer John Clemons has made a practice of illegally arresting,and illegally detaining persons
arrested without warrants. In the last 15 years this constitutional violation has become so longstanding
that it amounts to an unspoken rule used with the force of the law. Within just a 1 month period, The St.
Clair County Jail, and The E St. Louis Police Dept., under the instruction of Officer Clemons, also illegally
detained Marcus Stewart, Ronald Bonner, Jerry Richardson, and Dearius Cox by holding each of them for
48 hours without giving them a probable cause determination hearing, or by delaying their release while
they searched their homes regarding unrelated crimes, after arresting them without probable cause.
After my release Officer Clemons continued to harass me. I contacted his supervisors, including Capt.
Brown, atleast 3 times after I was released complaining about this overzealous officer's unscrupulous
tactics. For almost 20 years I have been at the mercy of this officer's every whim,and I now ask this
court for justice
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 V.      REQUEST FOR RELIEF

         State exactly what you want this court to do for you. If you are a state or federal
         prisoner and seek relief which affects the fact or duration of your imprisonment (for
         example: illegal detention, restoration of good time, expungement of records, or
         parole), you must file your claim on a habeas corpus form, pursuant to 28 V.S.c.
         §§ 2241, 2254, or 2255. Copies of these forms are available from the clerk's office.



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  Vl.     JURY DEMAND (check one box below)

          The plaintiff   ~es      0 does not request a trial by jury.



          DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

 I certify to the best of my knowledge, information, and belief, that this complaint is in full
 compliance with RuIe 11(a) and 11(b) of the Federal Rules of Civil Procedure. The
 undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.




  Signed on:     Iv   -;]2 - ;1
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            5; No kf/a
  ,5T IoU!City, State, Zip                                     Prisoner Register Number



                                     Signature of Attorney (if any)




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